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                                             BRAFMAN          & ASSOCIATES, P.C.
                                                           ATTORN E YS AT LAW

                                                     767 THIRO AVENUE. 26TH FLOOR

                                                       NEW YORK. NEW YORK 10017

                                                       TELEPHONE: 1212 1 750-7800

                                                        FACSIMILE: 12 121 750-3906

                                                    E -M A IL: BBRAF MANlilIBRAFLAW.COM

BENJAM IN BRAFM AN                                                                                             MA RK M. BAKER
                                                                                                                 O F COUNSEl
ANDREA ZELLAN                                                                                                  MARC AGNIF ILO
JOSHUA O. KIRSHNER                                                                                               OF COUNSn
                                                                                                             ADMITTEO IN NY AND N J
JACOB KAPLAN
TENY R. GERAGOS
ADMIT t E O IN N T   AN[)   CA




                                                                                          February 6, 2018

             BYECF
             Honorable Kiyo A. Matsumoto
             United States Di stri ct Judge
             Eastern District of New York
             225 Cadman Plaza East
             Brookl yn, NY 11 20 I

                                   Re:    Un ited States v. Martin Shkrcli, Crim. No. 15-637 (KAM)

             Dear Judge Matsumoto:

                     On February 5, 2018 the government submitted a reply brief (Dkt. #523) on its motion
             for forfeiture. (Dkl. #464). We respectfully request permission to fil e a short sur-repl y. If the
             Court grants our request, we propose submitting the sur-rep ly on Monday, February 12, 20 18.

                            We thank the Court for its consideration in this and all other matters.




                                                                                   Benjamin Srafman, Esq.


             cc:             AUSA Jacquelyn Kasuli s (v ia ECF and email)
                             AUSA Ali xandra Smith (via ECF and ema il)
                             AUSA Karthik Srini vasan (via ECF and email)
